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17
                                 UNITED STATES DISTRICT COURT
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                             NORTHERN DISTRICT OF CALIFORNIA
19
                                      OAKLAND DIVISION
20
   In re APPLE INC. SECURITIES                )   Case No. 4:19-cv-02033-YGR
21 LITIGATION                                 )
                                              )   CLASS ACTION
22                                            )
     This Document Relates To:                )   DECLARATION OF SHAWN A.
23                                            )   WILLIAMS IN SUPPORT OF LEAD
              ALL ACTIONS.                    )   PLAINTIFF’S UNOPPOSED MOTION FOR
24                                            )   PRELIMINARY APPROVAL OF
                                                  PROPOSED SETTLEMENT
25
                                                  DATE: April 30, 2024
26                                                TIME: 2:00 p.m.
                                                  JUDGE: Honorable Yvonne Gonzalez Rogers
27                                                CTRM: 1, 4th Floor

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     4861-9227-1021.v1
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 1            I, SHAWN A. WILLIAMS, declare as follows:

 2            1.         I am an attorney duly licensed to practice before all of the courts of the State of

 3 California and this Court. I am a member of the law firm of Robbins Geller Rudman & Dowd LLP,

 4 Lead Counsel for Norfolk County Council as Administering Authority of the Norfolk Pension Fund

 5 in the above-entitled action. I submit this declaration, together with the attached exhibit, in support

 6 of Lead Plaintiff’s Unopposed Motion for Preliminary Approval of Proposed Settlement. I have

 7 personal knowledge of the matters stated herein and, if called upon, I could and would competently

 8 testify thereto.

 9            2.         Attached is a true and correct copy of the following exhibit:

10            Exhibit 1:        Stipulation of Settlement and exhibits thereto.

11            I declare under penalty of perjury that the foregoing is true and correct. Executed this 15th

12 day of March, 2024.

13                                                                   s/ Shawn A. Williams
                                                                    SHAWN A. WILLIAMS
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     DECLARATION OF SHAWN A. WILLIAMS IN SUPPORT OF LEAD PLAINTIFF’S UNOPPOSED
     MOTION FOR PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT - 4:19-cv-02033-YGR                          -1-
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